

Matter of Weiss (2021 NY Slip Op 06742)





Matter of Weiss


2021 NY Slip Op 06742


Decided on December 2, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 2, 2021

PM-167-21
[*1]In the Matter of Harry Jay Weiss, an Attorney. (Attorney Registration No. 4629184.)

Calendar Date:November 29, 2021

Before:Garry, P.J., Lynch, Clark, Aarons and Colangelo, JJ.

Harry Jay Weiss, Annapolis, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Harry Jay Weiss was admitted to practice by this Court in 2008 and lists a business address in Washington, DC with the Office of Court Administration. Weiss now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Weiss's application.
Upon reading Weiss' affidavit sworn to October 12, 2021 and filed October 14, 2021, and upon reading the November 22, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Weiss is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Clark, Aarons and Colangelo, JJ., concur.
ORDERED that Harry Jay Weiss' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Harry Jay Weiss' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Harry Jay Weiss is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Weiss is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Harry Jay Weiss shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to [him/her].








